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                      FIN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 THE STATE OF LOUISIANA, By and
 through its Attorney General, Elizabeth B.
 Murrill;
 THE STATE OF KANSAS, By and through
 its Attorney General, Kris W. Kobach;            Case No.: 6:25-cv-0076-DCJ-DJA
 THE STATE OF OHIO, By and through its
 Attorney General, Dave Yost; and
 THE STATE OF WEST VIRGINIA, By and
 through its Attorney General, John B.
 McCuskey

              Plaintiffs,                         Judge David C. Joseph
                                                  Magistrate Judge David J. Ayo
              vs.

 UNITED STATES DEPARTMENT OF
 COMMERCE; JEREMY PELTER, in his
 official capacity as Acting Secretary of
 Commerce;
 BUREAU OF THE CENSUS, an agency
 within the United States Department of
 Commerce; and
 ROBERT L. SANTOS, in his official
 capacity as Director of the U.S. Census
 Bureau

              Defendants.



  MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE OF THE LEAGUE OF
     WOMEN VOTERS, THE LEAGUE OF WOMEN VOTERS OF FLORIDA,
       AND THE LEAGUE OF WOMEN VOTERS OF NEW YORK STATE




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                                                INTRODUCTION

          Advancing allegations of constitutional violations, Plaintiffs ask this Court to order the

 federal government to abandon its longstanding and legally mandated practice of basing

 apportionment of congressional seats and Electoral College votes on total population in favor of

 an apportionment count that excludes undocumented persons 1 and nonimmigrant visa holders. To

 bring about this radical change to deep-rooted practice, Plaintiffs also seek to have this Court order

 the Census Bureau to include citizenship and immigration related questions on all future censuses.

          Proposed Intervenors—the League of Women Voters (“LWV”), 2 the League of Women

 Voters of Florida (“LWVFL”), and the League of Women Voters of New York State (“LWVNYS”)

 (collectively, “the League”)—are nonprofit, nonpartisan, grassroots, community-based

 membership organizations. Founded in 1920, the League now has over a million members and

 supporters organized in nearly 800 communities and in every state and the District of Columbia.

 These Leagues promote political responsibility, voting rights, and democratic practices through

 education, advocacy, mobilization, and litigation.




 1
   Proposed Intervenors use the term “undocumented persons” instead of the term, “illegal aliens,” which is the term
 used by Plaintiffs. For purposes of this memorandum, we will presume that when Plaintiffs use the term “illegal
 aliens,” they are referring to noncitizens whose presence is unauthorized under law. However, because Plaintiffs have
 not defined the term using population categories defined by immigration law, their complaint is ambiguous on its face
 as to whether they are also referring to noncitizens whose immigration status is pending individual adjudication under
 Immigration and Nationality Act (“INA”) provisions such as, but not limited to, cancellation of removal (INA § 240A),
 asylum (INA § 208 et. seq.), withholding of removal (INA § 241(b)(3)), special immigrant juvenile status (INA §
 101(a)(27)(J)); or subject to renewals pursuant to, e.g., Deferred Action for Childhood Arrivals or Temporary Protected
 Status (INA § 244). We are using the term undocumented persons because it more accurately describes non-citizens
 in the United States who may have entered without inspection or have a visa that is out of status and do not have a
 pending individual adjudication as to the lawfulness of their immigration status.
 2
   LWV consists of two branches: the League of Women Voters of the United States (“LWVUS”) and the League of
 Women Voters Education Fund (“LWVEF”). LWVUS “encourages informed and active participation in government,
 works to increase understanding of major public policy issues and influences public policy through education, and
 advocacy.” LWVUS is a 501(c)(4) social welfare organization. See LVW, Ways to Give, https://perma.cc/U3VP-
 HETC. LWVEF “works to register and provide voters with election information through its election resource
 VOTE411.org, candidate forums, and debates.”

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          All three Proposed Intervenors are membership organizations that accomplish their mission

 through the power of their members and volunteers. LWVFL and LWVNYS are state affiliates of

 LWV but are separately incorporated. Members of each state League are also members of LWV.

 Every state and local League is led by a group of members who serve as president and a board of

 directors, as well as other positions within each League to help carry out the League’s critical

 mission of empowering voters and defending democracy. Members are the life force of the League.

          As part of its mission, the League seeks to encourage voter engagement and participation

 in the democratic process through its members and volunteers. Core to the League’s mission is

 ensuring that all Americans can participate in our democratic process and all residents are

 represented in our democracy. The League believes that congressional districts and government

 legislative bodies should be apportioned on the basis of total population. LWV has opposed efforts

 to allow apportionment to be based on factors other than total population. Since 1988, LWV has

 worked with state and local Leagues to encourage full participation in the Census and ensure that

 subsequent reapportionment and redistricting complies with one person, one vote requirements

 and the Voting Rights Act of 1965. LWV submitted an amicus brief in Evenwel v. Abbott, a case in

 which plaintiffs sought to require states to use a metric other than total population apportionment.

 578 U.S. 54, 57 (2016). LWV’s brief supported the current practice and policy of using total

 population when drawing district lines, and the Supreme Court agreed with LWV’s position. Id. at

 74-75.

          Ahead of the 2020 Census, LWV encouraged member participation in and provided

 guidance for state and local Leagues to participate in Complete Count Committees. The League

 also engaged in efforts to remove a citizenship question from the 2020 Census. LWV, LWVFL,

 and LWVNYS were each active in opposing the citizenship question by filing amicus briefs at



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 various stages of litigation, seeking to block the question. LWV also lobbied Congress, engaged

 the LWVUS Lobby Corps, and activated its grassroots network in a successful engagement

 campaign in 2018 to raise awareness of the damaging effects the question would have on

 communities across the country.

        Proposed Intervenors seek to intervene in this matter for at least three reasons. First, they

 seek to protect the interests of their members and their constituents who stand to lose representation

 in the U.S. Congress and the Electoral College if Plaintiffs prevail in their suit. Second, preserving

 a reapportionment count based on total population is consistent with Proposed Intervenors’ core

 objective of protecting and promoting democratic practices in the United States, which necessarily

 involves including all the country’s inhabitants in the reapportionment count to ensure that

 representation and the funds tied to reapportionment reflect the true population of the country

 without excluding marginalized groups. Third, Proposed Intervenors have an interest in not adding

 citizenship and immigration questions to the Census because such questions will have the effect

 of significantly increasing the Census undercount, especially of non-citizens. As organizations

 committed to safeguarding American democracy, Proposed Intervenors have a strong interest in

 protecting the accuracy of the Census to ensure federal and state governments fairly reapportion

 representation and allocate funds between and within States.

        Proposed Intervenors satisfy each requirement for intervention as a matter of right under

 Rule 24(a)(2), and the Court should grant their motion to intervene. Alternatively, the motion

 should be granted on a permissive basis under Rule 24(b)(1).




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                                             ARGUMENT

     I.      Proposed Intervenors are entitled to intervene as of right.

          Proposed intervenors are entitled to intervene in this matter. Under Rule 24(a)(2), for a

 party to intervene as of right, the following four requirements must be satisfied: (1) the application

 for intervention must be timely; (2) the applicant must have an interest relating to the property or

 transaction which is the subject of the action; (3) the applicant must be so situated that the

 disposition of the action may, as a practical matter, impair or impede his ability to protect that

 interest; [and] (4) the applicant’s interest must be inadequately represented by the existing parties

 to the suit. La Union del Pueblo Entero v. Abbott, 29 F.4th 299, 305 (5th Cir. 2022) (“La Union”)

 (quoting Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015)).

          Although the movant has the burden of establishing the right to intervene, Rule 24(a)’s

 requirements for intervention are to be “liberally construed,” with “doubts resolved in favor of the

 proposed intervenor.” In re Lease Oil Antitrust Litig., 570 F.3d 244, 248 (5th Cir. 2009). Federal

 courts should allow intervention “where no one would be hurt and greater justice could be

 attained.” Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (quoting McDonald v. E.J.

 Lavino Co., 430 F.2d 1065, 1074 (5th Cir. 1970)). Here, Proposed Intervenors satisfy all four

 intervention requirements.

          A. This motion is timely.

          Courts consider four factors when evaluating the timeliness of a motion to intervene: “(1)

 the length of time during which the would-be intervenor actually or reasonably should have known

 of his interest in the case before he petitioned for leave to intervene; (2) the extent of prejudice that

 the existing parties to the litigation may suffer as a result of the would-be intervenor’s failure to

 apply for intervention as soon as he actually knew or reasonably should have known of his interest


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 in the case; (3) the extent of the prejudice that the would-be intervenor may suffer if his petition

 for leave to intervene is denied; and (4) the existence of unusual circumstances militating either

 for or against a determination that the application is timely.” Ross v. Marshall, 426 F.3d 745, 754

 (5th Cir. 2005) (quoting Stallworth v. Monsanto Co., 558 F.2d 257, 264-66 (5th Cir. 1977). The

 timeliness inquiry is “concerned only with the prejudice caused by the applicants’ delay, not that

 prejudice which may result if intervention is allowed.” Edwards v. City of Houston, 78 F.3d 983,

 1002 (5th Cir. 1996).

        The four timeliness factors weigh in favor of Proposed Intervenors. This motion has been

 filed less than three months after the filing of the Complaint and well before Defendants intend to

 or are required to provide their Answer. ECF No. 47 (Defendants’ Motion to Stay Proceedings);

 ECF No. 48 (this Court’s March 6, 2025, Order indefinitely staying proceeding, scheduling a status

 conference for May 2, 2025, and striking deadlines for any responsive briefings until after the

 lifting of the stay). Further, Proposed Intervenors are seeking to intervene prior to the

 commencement of discovery, any hearings, or even a scheduling order. Under these circumstances,

 no existing party to the litigation can credibly suggest that they would be harmed by the timing of

 the Proposed Intervention. Compare Wal-Mart, 834 F.3d at 565 (“Because [movant] sought

 intervention before discovery progressed and because it did not seek to delay or reconsider phases

 of the litigation that had already concluded, the [movants] motion was timely.”); Ass’n of Prof’l

 Flight Attendants v. Gibbs, 804 F.2d 318 (5th Cir. 1986) (finding motion to intervene timely where

 five months passed between interest learned and intervention). Further, there are no unusual

 circumstances that bear on timeliness of intervention. For these reasons, Proposed Intervenors’

 Motion is timely.




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        B. Proposed Intervenors have a legally protectable interest.

        “Although ‘there is not any clear definition of the nature of the interest that is required for

 intervention of right [under Rule 24(a)(2)],’ the key inquiry is whether the interest alleged is

 ‘legally protectable.’” Students for Fair Admissions, Inc. v. Univ. of Texas at Austin, 338 F.R.D.

 364 (W.D. Texas 2021) (quoting New Orleans Pub. Serv, Inc. v. United Gas Pipe Line Co., 732

 F.2d 452, 464 (5th Cir. 1984). The interest requirement is met if the interest “is of the type that the

 law deems worthy of protection, even if the intervenor does not have an enforceable legal

 entitlement or would not have standing to pursue [their] own claim.” Texas v. United States, 805

 F.3d 653, 659 (5th Cir. 2015). “A movant has a legally protectable interest if it is the beneficiary

 of the regulations at issue.” Students for Fair Admissions, Inc. v. Univ. of Texas at Austin, 338

 F.R.D. 364, 369 (W.D. Tex. 2021) (citing Wal–Mart, 834 F.3d at 568–69).

        Here, all three Proposed Intervenors easily meet Rule 24(a)(2)’s interest requirement. First,

 two of the organizations have a significant interest in maintaining the effectiveness of the votes of

 their state’s members. LWVFL and LWVNYS are membership organizations that are run and

 operated by their members, which include thousands of voters in Florida and New York. Exs. B

 and C. If Plaintiffs prevail in this suit, LWVFL and LWVNYS members (who are also members

 of LWV) may have the efficacy of their votes diluted. That is because Florida and New York have

 been and remain two of the states with the largest numbers of undocumented persons. See,

 www.Pewresearch.org/short-reads/2024/07/22/what-we-know-about-unauthorized-immigrants-

 living-in-the-us (reporting Pew studies showing that Florida and New York are consistently among

 the six states with the largest immigrant populations); see also Compl. ¶ 66 (alleging that, “The

 total illegal alien population is at least 4% of the total state population in . . . Florida”).

 Consequently, if Plaintiffs are correct and prevail on their claims, both these states risk losing one


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 congressional seat and one Electoral College vote. See www.thirdway.org/memo/is-illegal-

 immigration-really-a-democratic-plot-to-sway-congressional-apportionment             (reporting     that

 before the 2020 Census, the Center for Immigration Studies estimated that New York would lose

 one congressional representative if undocumented immigrants were excluded from the

 apportionment count, and that the Pew Research Center estimated that exclusion of undocumented

 immigrants would result in Florida losing a congressional seat).

         There is no doubt that diluting the efficacy of the votes of Proposed Intervenors’ members

 implicates a Rule 24(a)(2) interest because this type of harm satisfies the much more stringent

 requirement for Article III standing. In the context of apportionment, the Supreme Court has

 consistently held that “voters have standing to challenge an apportionment statute because they are

 asserting a plain, direct and adequate interest in maintaining the effectiveness of their votes.” Dep’t

 of Com. v. U.S. House of Representatives, 525 U.S. 316, 331–32, 119 S. Ct. 765, 774, 142 L. Ed.

 2d 797 (1999), citing Baker v. Carr, 369 U.S. 186, 208, 82 S. Ct. 691, 7 L.Ed.2d 663 (1962)

 (cleaned up). The Court has also stated that the expected loss of a Representative to the United

 States Congress because of a change to reapportionment “undoubtedly satisfies the injury-in-fact

 requirement of Article III standing.” Id. Consistent with Supreme Court precedent recognizing that

 voters have standing to challenge reapportionment laws, federal courts have concluded that voters

 have standing when alleging that “the exclusion of undocumented immigrants from the

 apportionment base will lead to an undercount of persons in their respective States relative to other

 states such that their States are highly likely to lose a seat in Congress, thus depriving them of their

 fair share of representation in the United States House of Representatives.” City of San Jose v.

 Trump, 497 F.Supp.3d 680, 700-01 (2020); see also Useche, 2020 WL 6545886, at *4-*7 (“When




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 a state anticipates losing a seat in Congress, that diminishment of political representation is a

 concrete injury suffered by both the state itself and its citizens.”) (cleaned up).

        Second, this case implicates Proposed Intervenors’ Rule 24(a)(2) interest because it relates

 to core objectives of each of Proposed Intervenors. All three Proposed Intervenors are

 organizations committed to promoting and defending voting rights and democracy through

 advocacy, education, mobilization, and litigation. LWVFL and LWVNYS do so in their respective

 states while LWV does so throughout the United States. This lawsuit—which will have a

 significant impact on the apportioning of representation in the U.S. House of Representatives and

 the Electoral College—unambiguously implicates these important organizational interests. Exs. A,

 B, and C.

        Third, as pro-democracy organizations, all three Proposed Intervenors have a strong

 interest in preserving the accuracy of the Census count. Id. This interest is threatened by how

 Plaintiffs propose to remedy their alleged constitutional violations. Plaintiffs’ relief involves

 compelling the government to include citizenship and immigration questions on the Census.

 Compl. ¶ 115(d). These questions will likely result in a significant undercount,

 see, e.g., Federation of Am. Immigration Reform v. Klutznick, 486 F.Supp. 564, 568 (D.D.C.

 1980) (“[A]ccording to the Bureau[,] any effort to ascertain citizenship will inevitably jeopardize

 the overall accuracy of the population count”); Brief for Former Directors of the U. S. Census

 Bureau as Amici Curiae in Evenwel v. Abbott, O. T. 2014, No. 14–940, p. 25 (inquiring about

 citizenship would “invariably lead to a lower response rate”), which, in turn, will harm

 representational rights in local, state, and federal elections. See Dep’t of Commerce. v. New York,

 588 U.S. 752, 773, 139 S. Ct. 2551, 2569, 204 L. Ed. 2d 978 (2019).




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         C. The disposition of this case may impair Proposed Intervenors’ interests.

         To satisfy the third requirement for intervention, Proposed Intervenors “need only show

 that if they cannot intervene, there is a possibility that their interest could be impaired or impeded.”

 La Union, 29 F.4th at 307 (emphasis added). As discussed above, if Plaintiffs prevail, there is

 certainly a possibility that Proposed Intervenors’ interests would be impaired. Not only will their

 members likely have the effectiveness of their votes diluted, their ability to advance their core

 objectives of promoting voting rights and representational democracy in the United States may

 also be impaired and impeded.

         D. Proposed Intervenors’ interests are not adequately protected.

         While Proposed Intervenors have the burden of demonstrating inadequate representation,

 the burden is “minimal.” See Brumfield v. Dodd, 749 F.3d 339, 345 (5th Cir. 2014) (quoting Sierra

 Club v. Espy, 18 F.3d 1202, 1207 (5th Cir. 1994). An applicant for intervention satisfies this

 minimal burden simply by showing that representation of their interest by existing parties “may be

 inadequate.” Sierra Club, 18 F.3d at 1207 (citing Trbovich v. United Mine Workers, 404 U.S. 528,

 538 n. 10 (1972) (emphasis added).

         Despite the minimal burden of demonstrating inadequacy, in the Fifth Circuit there are two

 presumptions of adequate representation. Brumfield, 749 F.3d at 345. “The first presumption arises

 when the intervenor has the same ultimate objective as a party to the lawsuit.” La Union, 29 F.4th

 at 308 (cleaned up). To overcome this presumption, “the applicant for intervention must show

 adversity of interest, collusion, or nonfeasance on the part of the existing party.” Id. (cleaned up).

 The second presumption “arises when the existing party is a governmental body or officer charged

 by law with representing the interests of the intervenor.” Id. This presumption can be overcome


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 “by showing that the intervenor’s interest is in fact different from that of the governmental party

 and that the interest will not be represented by the existing governmental party.” Id. (cleaned up).

        In this case, even assuming both presumptions apply, both are overcome because Proposed

 Intervenors have divergent interests from the existing parties. See Edwards, 78 F.3d at 1005

 (holding that a prospective intervenor can establish an adversity of interest if “its interests diverge

 from the putative representative’s interest in a manner germane to the case.”). Proposed Intervenors

 not only directly oppose Plaintiffs’ claims, their interests almost certainly diverge from those of

 Defendants.

        On March 3, 2025, Defendants requested a stay in this matter after acknowledging that the

 current Trump administration may decide against vigorously opposing Plaintiffs suit, which would

 mean that Defendants’ interests no longer converge with those of Proposed Intervenors. See ECF

 No. 46. In their motion, Defendants note that under the previous Trump administration, “President

 Trump issued a memorandum directing the Secretary of Commerce to take steps ‘to exclude from

 the apportionment base aliens who are not in a lawful immigration status.’” Id. (quoting

 Presidential Actions: Memorandum on Excluding Illegal Aliens From the Apportionment Base

 Following the 2020 Census, Memo for the Sec’y of Commerce (July 21, 2020),

 https//trumpwhitehouse.archives.gov/presidential-actions/memorandum-excluding-illegal-aliens-

 apportionment-base-following-2020-census/.). Defendants go on to explain that while the Biden

 administration issued an executive order revoking President Trump’s July 2020 memorandum, on

 January 20, 2025, the newly re-elected President Trump issued Executive Order 14148, rescinding

 Biden’s revocation. Id. Defendants also stated that “New leadership at the Department of

 Commerce is in the process of onboarding and has not yet had time to determine its approach to

 . . . this litigation following the issuance of Executive Order 14148.” Id. The statements in



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 Defendants’ Motion for Stay makes it abundantly clear that Defendants’ interests are diverging

 from those of the Proposed Intervenors who are committed to robustly and vigorously opposing

 Plaintiffs’ suit for the reasons discussed above.

         In addition to the existing parties, this case also involves other proposed intervenors—two

 California and three Texas voters and the County of Santa Clara, California (“Other Proposed

 Intervenors”). Though these Other Proposed Intervenors moved to intervene before Proposed

 Intervenors, they are in a similar position to Proposed Intervenors because the Court has struck

 their pending motions to intervene, stating that their motions would be refiled by the Court upon

 the lifting of the stay. ECF No. 46.

         To the extent that the Court must weigh whether Proposed Intervenors’ interests diverge

 from those of the Other Proposed Intervenors, they do in at least two ways. First, the Other

 Proposed Intervenors have interests that directly relate to harms that would be caused to them in

 California and Texas if Plaintiffs prevail in this case, while Proposed Intervenors are concerned

 with protecting against potential harms to voters in Florida and New York and harms that could

 befall voters in any of the states that stand to lose representation if Plaintiffs prevail.

         Second, Proposed Intervenors are seeking to participate in this case to advance broad

 concerns that relate directly to the goals of their organizations and their organizations’ unique

 history. Compare In re Franklin Nat’l Bank Securities Litig., 92 F.R.D. 468, 472 (E.D.N.Y., 1981)

 (denying prospective intervenors motion to intervene after a settlement had already been

 consummated but noting that under other circumstances, allowing intervention by public interest

 groups might be useful in cases of “great public importance.”). The three Proposed Intervenors are

 connected to each other: they are all the League of Women Voters. The League’s history traces

 back to the women’s suffrage movement and the decades long struggle to secure equal political



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 rights for women. Even when women could not vote, it was recognized that they – just like all

 this country’s inhabitants – counted for purposes of representation. That recognition paved the way

 toward including women in the body politic and creating a more equal and democratic society.

          Now, Plaintiffs seek to reverse our country’s march toward a more representative

 democracy by requiring the government to do something it has never done before, which is to

 exclude entire classes of taxed residents from the census count. Instead of working toward enacting

 sensible immigration laws to reduce the country’s undocumented population, Plaintiffs have

 chosen to file a lawsuit geared toward creating a permanent underclass of inhabitants who work in

 our country’s fields and factories but are not counted or in any way represented. Proposed

 Intervenors are concerned that this dangerous precedent may open the door to efforts to exclude

 or dilute the representational rights of other historically marginalized groups.

          To conclude, Proposed Intervenors’ strong interest in opposing Plaintiffs’ anti-democratic

 reimagining of how to apportion representation in Congress and the Electoral College would not

 be adequately represented by either Defendants or the Other Proposed Intervenors. Defendants

 cannot be counted on to vigorously oppose Plaintiffs’ suit and the interests of the Other Proposed

 Plaintiffs also diverge because they have suffered different harms and none of them share Proposed

 Intervenors’ unique history and perspective on these issues.

    II.      In the alternative, the Court should grant permissive intervention.

          Even if the Court determines that Proposed Intervenors are not entitled to intervene as a

 matter of right, the Court should exercise its broad discretion to grant permissive intervention.

 Rule 24(b) provides that a court may permit intervention if (1) the intervenor has a claim or defense

 that shares with the main action a common question of law or fact, and (2) granting intervention

 will not unduly delay or prejudice the adjudication of the original parties’ rights. Fed. R. Civ. P.



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 24(b). When considering whether to grant permissive intervention, another factor a court should

 consider is whether Proposed Intervenors “are likely to contribute significantly to the development

 of the underlying factual issues.” League of United Latin Am. Citizens, Council No. 4434 v.

 Clements, 884 F.2d 185, 189 (5th Cir. 1989). Further, “the idea of ‘streamlining’ the litigation . . .

 should not be accomplished at the risk of marginalizing those . . . who have some of the strongest

 interests in the outcome.” U.S. v. City of Los Angeles, Cal., 288 F.3d 391, 404 (9th Cir. 2022).

 “Permissive intervention is wholly discretionary.” Turner v. Cincinnati Ins. Co., 9 F.4th 300, 317

 (5th Cir. 2021) (cleaned up)

        Here, Proposed Intervenors satisfy the two requirements for permissive intervention. As

 discussed above, Proposed Intervenors have a defense that shares with the main action a common

 question of law and fact, and the granting of the intervention will in no way prejudice the

 adjudication of the original parties’ rights. Supra Section I(B).

        Moreover, Proposed Intervenors are also well placed to contribute significantly toward

 developing defenses that squarely address the factual and legal premises of Plaintiffs’ claims,

 including but not limited to: (1) the history behind the adoption of Section 2 of the Fourteenth

 Amendment to the United States Constitution; (2) the history behind the adoption of relevant

 statutes such as the Reapportionment Act of 1929, a statute that provides, in relevant part, that the

 President must transmit for purposes of reapportionment “a statement showing the whole number

 of persons in each State, excluding Indians not taxed, as ascertained under the seventeenth and

 each subsequent decennial census of the population;” 2 U.S.C. § 2a; (3) the history of democratic

 practices in liberal democracies and why Plaintiffs’ lawsuit proposes a departure from those

 practices; (4) evidence related to the economic harm Plaintiffs’ proposed remedy would cause to

 the country’s inhabitants, especially to those in Florida and New York; and (5) evidence related to



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 how the inclusion of citizenship and immigration questions on the Census will result in an

 undercount, that, in turn, will have the effect of impairing representational rights in local, state,

 and federal elections.

                                          CONCLUSION

        For the reasons stated above, the Court should grant Proposed Intervenors’ Motion to

 Intervene, and upon the granting of this Motion, deem as filed Proposed Intervenors’ Answer,

 attached to this Motion as Attachment 5.



 Dated: April 10, 2025                         Respectfully submitted by,

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